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     EILEEN KNIGHT
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,          )   NO. CR S-12-169 MCE
                                        )
10                    Plaintiff,        )   [PROPOSED] ORDER AND STIPULATION
                                        )   BY THE PARTIES MODIFYING THE
11        v.                            )   FOLLOWING CONDITIONS OF PRETRIAL
                                        )   RELEASE
12   EILEEN KNIGHT,                     )
                                        )
13                                      )
                      Defendant.        )
14                                      )
     _______________________________
15
16        Plaintiff, the United States of America, by its counsel, Assistant
17   United States Attorney Jason Hitt, defendant Eileen Knight, by her
18   attorney, Christopher Haydn-Myer, hereby jointly request and stipulate
19   that this Court may sign the Proposed Order, ordering that Ms. Knight
20   abide by the following conditions of pretrial release.
21        The reason for the request is that on December 5, 2012, Ms. Knight
22   completed The Effort's 90 day residential substance abuse treatment
23   program and was permitted to return to her residence in Los Angeles
24   under the previously imposed conditions of release.         Ms. Knight’s Pre-
25   Trial Release Officer reports that she has been in compliance for
26   approximately 90 days. Ms. Knight has requested that her electronic
27   monitoring device be removed as a condition of her release.            Pre-Trial
28   Services and the Assistant U.S. Attorney Jason Hitt do not oppose the
           Case 2:12-cr-00169-TLN Document 152 Filed 04/09/13 Page 2 of 2


 1   modification.
 2
 3                                                BENJAMIN B. WAGNER
                                                  UNITED STATES ATTORNEY
 4
     Dated: April 8, 2013                         Respectfully submitted,
 5                                                /s/ Jason Hitt
                                                  CHRISTOPHER HAYDN-MYER for
 6                                                Assistant United States
                                                  Attorney Jason Hitt
 7
 8   Dated: April 8, 2013                         Respectfully submitted,
                                                  /s/ Christopher Haydn-Myer
 9                                                CHRISTOPHER HAYDN-MYER
                                                  Attorney for Eileen Knight
10
11
12                                    ORDER
13
14        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that condition number 11 of
15   Ms. Eileen KNIGHT’s pre-trial release is removed.
16   Dated: April 8, 2013.
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28                                          2
